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                   UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

 DOMINICK LEROY DAVIS,
                                               Case No.: 3:23-cv-1503
              Plaintiff,

 vs.

 RENTGROW, INC.,                               JURY TRIAL DEMANDED

              Defendants.


                                     COMPLAINT

       Dominick Leroy Davis (“Plaintiff” or “Mr. Davis”) by and through his

counsel brings the following Complaint against RentGrow, Inc. (“Defendant” or

“RentGrow”) for violations of the federal Fair Credit Reporting Act (“FCRA”), 15

U.S.C. §§ 1681, et seq., arising out of a tenant screening report created by Defendant,

then published to Plaintiff’s potential landlord, which inaccurately reported

Plaintiff’s past criminal record.

                                    INTRODUCTION

       1.    This is an individual action for damages, costs, and attorney’s fees

brought against Defendant pursuant to the Fair Credit Reporting Act, 15 U.S.C. §§

1681, et seq. (“FCRA”).



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      2.       Defendant is a consumer reporting agency (“CRA”) that compiles and

maintains files on consumers on a nationwide basis. It sells consumer reports, also

known as tenant screening reports, generated from its database and furnishes these

tenant screening reports to mortgage brokers, landlords, and property management

companies who use the reports to make decisions regarding prospective borrowers

and tenants.

      3.       Defendant assembled and published an inaccurate tenant screening

report to Plaintiff’s prospective landlord, which included numerous inaccurate

duplications of misdemeanor and felony charges.

      4.       Plaintiff’s housing application was denied by prospective landlords

after receiving the inaccurate tenant screening report created by Defendant.

      5.       Defendant’s inaccurate report contained numerous false and

duplicative entries of misdemeanor and felony charges that did not exist in the court

records from Duval County, Florida.

      6.       Had Defendant performed even the most cursory review of the

underlying public court records, it would have discovered that Plaintiff’s past

criminal record did not hold as many charges as Defendant reported.

      7.       Defendant does not employ reasonable procedures to assure maximum

possible accuracy of the information it reports regarding consumers. Defendant’s


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failure to employ reasonable procedures resulted in Plaintiff’s report being grossly

inaccurate.

      8.      Defendant committed these violations pursuant to its standard policies

and practices, which harm innocent consumers seeking housing by prejudicing their

prospective landlords with inaccurate information.

      9.      Defendant’s inaccurate report cost Plaintiff the ability to rent the

apartment units that were suitably accommodating of his needs, causing him

physical injury as a result of emotional distress, embarrassment, inconvenience,

anxiety, fear of homelessness, and financial loss.

      10.     As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of housing

opportunities; loss of time and money trying to correct the tenant screening report;

the expenditure of labor and effort disputing and trying to correct the inaccurate

reporting; damage to his reputation; loss of sleep; lasting psychological damage; loss

of capacity for enjoyment of life; and emotional distress, including mental anguish,

anxiety, fear, frustration, humiliation, and embarrassment.

      11.     As a result of Defendant’s conduct, action, and inaction, Plaintiff brings

claims against Defendant for failing to follow reasonable procedures to assure

maximum possible accuracy based on 15 U.S.C. § 1681e(b) of the FCRA.


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                                     PARTIES

      12.    Dominick Leroy Davis (“Plaintiff” or “Mr. Davis”) is a natural person

residing in Jacksonville, Florida, and is a “consumer” as that term is defined in 15

U.S.C. § 1681a(c).

      13.    Defendant RentGrow, Inc. (“Defendant” or “RentGrow”) is a

“consumer reporting agency,” and a “reseller,” as those terms are defined under 15

U.S.C. § 1681a(f), a(u). RentGrow assembles and merges information contained in

the database of another consumer reporting agency and maintains a database of the

assembled or merged information from which new consumer reports are produced.

RentGrow is registered to do business throughout the United States, including the

State of Florida and in this District, and has a principal place of business located at

307 Waverly Oaks Road, Suite 301, Waltham, MA 02452, and can be served with

process by way of its registered agent, Corporation Service Company, located at 84

State Street, Boston, MA 02109.

      14.    Defendant, as part of its regular business, sells consumer reports, often

called tenant screening reports, to mortgage brokers, property management

companies, and landlords for their use in deciding whether to rent or otherwise offer

housing to a prospective tenant. These reports are provided in connection with a

business transaction initiated by the consumer.


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      15.    Defendant is a consumer reporting agency as defined in 15 U.S.C. §

1681a(f) because for monetary fees, it regularly engages in the practice of evaluating

and/or assembling information on consumers for the purpose of furnishing consumer

reports for tenant screening purposes to third parties, and uses interstate commerce,

including the Internet, for the purpose of preparing and furnishing such consumer

reports.

                             JURISDICTION AND VENUE

      16.    This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.

      17.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to Plaintiff's claims

occurred in this District.

                             STATUTORY BACKGROUND

      18.    Enacted in 1970, the FCRA’s passage was driven in part by two related

concerns: first, that consumer reports were playing a central role in people’s lives at

crucial moments, such as when they applied for a job or credit, and when they

applied for housing. Second, despite their importance, consumer reports were

unregulated and had widespread errors and inaccuracies.


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      19.     While recognizing that consumer reports play an important role in the

economy, Congress wanted consumer reports to be “fair and equitable to the

consumer” and to ensure “the confidentiality, accuracy, relevancy, and proper

utilization” of consumer reports. 15 U.S.C. § 1681.

      20.     Congress, concerned about inaccuracies in consumer reports,

specifically required consumer reporting agencies to follow “reasonable procedures

to assure maximum possible accuracy” in consumer reports. 15 U.S.C. § 1681e(b).

      21.     Consumer reports that contain factually incorrect information which

does not belong to the consumer at issue are neither maximally accurate nor fair to

the consumers who are the subjects of such reports.

       THE FCRA’S PROTECTIONS FOR HOUSING APPLICANTS
      22.     Despite its name, the Fair Credit Reporting Act covers more than just

credit reporting, it also regulates tenant screening reports like the one Defendant

prepared in Plaintiff’s name.

      23.     The FCRA provides a number of protections for housing applicants

who are the subject of tenant screening reports for the purpose of securing housing

and credit.




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      24.    In the parlance of the FCRA, tenant screening reports are “consumer

reports,” and providers of tenant screening reports, like Defendant, are “consumer

reporting agencies.” 15 U.S.C. §§ 1681a(d) and (f).

      25.    The FCRA imposes duties on consumer reporting agencies to assure

that consumer reports are accurate and that “consumer reporting agencies exercise

their grave responsibilities with fairness, impartiality, and a respect for the

consumer’s right to privacy.” 15 U.S.C. § 1681.

      26.    Under 15 U.S.C. § 1681e(b), consumer reporting agencies are required

“to follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.”

      27.    Defendant disregarded its duties under the FCRA with respect to

Plaintiff’s tenant screening report.

             DEFENDANT’S ILLEGAL BUSINESS PRACTICES
      28.    Over the past 15 years, there has been increased collection and

aggregation of consumer data, including criminal records and sex offender

registration data. As a result of the increasing availability of this data, there has been

a boom in the tenant screening industry.

      29.    Tenant Screening Reports are generally created by running automated

searches through giant databases of aggregated criminal record data. The reports are



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created and disseminated with little to no manual, in-person review, and the

underlying court records are rarely directly reviewed in creating tenant screening

reports.

      30.    Tenant Screening companies, like Defendant, collect millions of

records from a number of sources with data from county, state, and federal level

sources. The data included on the reports is often not obtained directly from court

records on an individual basis but instead is purchased in bulk or scraped from court

websites.

      31.    Given that Defendant is in the business of selling tenant screening

reports, Defendant should be well aware of the FCRA and the attendant harm to

consumers for reporting inaccurate or outdated information.

      32.    Defendant places its business interests above the rights of consumers

and reports such inaccurate information because it is cheaper for Defendant to

produce reports containing information that is inaccurate and incomplete than it is

for Defendant to exert proper quality control over the reports prior to their being

provided to Defendant’s customers.

      33.    Defendant reports such erroneous and incomplete information because

it wants to maximize the automation of its report creation process, thereby saving




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the costs associated with conducting the additional review necessary to remove the

inaccurate or out-of-date entries.

      34.    Defendant charges its customers the same price for reports that are

grossly inaccurate as it does for accurate reports.

      35.    Appropriate quality control review of Plaintiff’s report would have

made clear that Defendant was reporting a misdemeanor as a felony.

      36.    As a provider of tenant screening reports, Defendant should be aware

of the FCRA requirements and is likely a member of the Professional Background

Screening Association (“PBSA”). PBSA hosts a conference at least once a year

where presenters discuss compliance with federal and state consumer reporting laws.

                                       FACTS
      Plaintiff Applies for an Apartment with Gregory Cove Apartments
      37.    Plaintiff had been living by himself in his home in Florida under a

Section 8 voucher.

      38.    Plaintiff was notified that his home had been sold and was given until

November 1, 2023 to find a new home.

      39.    Plaintiff’s time to find a new home was extended to December 1, 2023.

      40.    Plaintiff began searching, from September to November 2023, for a

new place in Florida. Specifically, Plaintiff was searching for an apartment that was

in a safe neighborhood, quiet, laid back, and clean, and within his budget.

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      41.    On or about November 1, 2023, Plaintiff applied online and paid a

reservation and application fee of $185 to Gregory Cove Apartments (“Gregory

Cove”).

   Defendant Published an Inaccurate Tenant Screening Report to Gregory
                             Cove Apartments
      42.    Gregory Cove contracted with Defendant to conduct tenant screening

reports on prospective tenants to determine whether the prospective tenant is eligible

to rent an apartment.

      43.    On or around early November 2023, Gregory Cove ordered a tenant

screening report on Plaintiff from Defendant.

      44.    On or around early November 2023, Defendant sold a tenant screening

report about Plaintiff to Gregory Cove, wherein Defendant published information

including a compilation of Plaintiff’s credit history, criminal history, and civil

records history.

      45.    The tenant screening report, identified as a Property Screening Result

by Defendant, is a consumer report regulated by the FCRA.

      46.    Within that tenant screening report, Defendant published inaccurate

information about Plaintiff.

      47.    Upon information and belief, Defendant’s tenant screening report about

Plaintiff included a grossly inaccurate and stigmatizing duplications of Plaintiff’s


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past misdemeanor and felony charges from Duval County, Florida, which appeared

in       the       tenant       screening       report       as       follows:




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      48.    The numerous reports of felony and misdemeanor charges reported by

Defendant about Plaintiff are inaccurate, specifically:

             (a)   Record 1 and Record 5 both report identical charges of Case No.

                   01 1991 CF 003566 A (Felony Grand Theft), making it look like

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                 two separate charges and convictions. It should have only been

                 reported once.

           (b)   Record 2 reports four identical charges of Case No. 9103566

                 (Felony Grand Theft, 300 less 20,000), making it look like four

                 separate charges when Plaintiff was only charged with one count.

           (c)   Record 3 reports four identical charges of Case No. 9606148

                 (Felony Aggravated Assault with a Weapon with No Intent to

                 Kill), making it look like four separate charges when Plaintiff

                 was only charged with a single charge of Felony Assault with a

                 Firearm (Domestic) with Case No. 16-1996-CF-006148-AXXX-

                 MA

           (d)   Record 4 reports four identical charges of Case No. 96009328

                 (Forgery/Uttering), making it look like four separate charges

                 when Plaintiff was only charged with each once.

           (e)   Record 6 reports two identical charges of Case No. 16-2022-

                 MM-006951-AXXX-MA (Misdemeanor Criminal Mischief)

                 when Plaintiff was only charged of a single charge of

                 Misdemeanor Criminal Mischief.




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      49.    A cursory review of the widely available underlying public court

records confirms correct number of charges and convictions for Plaintiff.

      50.    The sole reason the inaccurate duplication of criminal records was

reported was that Defendant failed to follow reasonable procedures to assure the

maximum possible accuracy of the information it published within the tenant

screening report it sold about Plaintiff to Plaintiff’s prospective landlord.

      51.    Had Defendant followed reasonable procedures, it would have

discovered that correct number of charges and convictions of Plaintiff criminal

history and that it should have reported the same.

      52.    In preparing and selling a consumer report about Plaintiff, wherein

Defendant published to Plaintiff’s prospective landlord inaccurate information about

Plaintiff, Defendant failed to follow reasonable procedures to assure that the report

was as accurate as maximally possible, in violation of 15 U.S.C. § 1681e(b).

              Gregory Cove Denies Plaintiff’s Housing Application
      53.    On or about November 3, 2023, Plaintiff was notified by Gregory Cove

that his housing application was denied as a direct result of the information included

in report by Defendant.




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      54.      Plaintiff was never provided a copy of the report conducted by

Defendant, but was told that it was Defendant’s report that determined Gregory

Cove’s decision.

      55.      Gregory Cove only returned $100 of Plaintiff’s $185 reservation and

application fee.

      56.      Plaintiff was upset, but immediately worked to find new housing

opportunities despite the one he lost due to Defendant’s inaccurate reporting.

      57.      Specifically, Defendant reported numerous duplications of Plaintiff’s

past criminal history. The underlying public court record information was widely

available to Defendant prior to publishing Plaintiff’s tenant screening report to

Gregory Cove, but Defendant failed to perform even a cursory review of such

information.

     Plaintiff Applies for an Apartment with Lindsey Terrace Apartments
      58.      Still needing to secure housing for himself, Plaintiff immediately set

out to find more housing opportunities.

      59.      On or around November 3, 2023, Plaintiff found new housing that was

in a good neighborhood, affordable, quiet, and close to both a mall and movie

theatre.




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      60.    On or about November 3, 2023, Plaintiff applied online and paid a

reservation and application fee of $185 to Lindsey Terrace Apartments (“Lindsey

Terrace”).

   Defendant Published an Inaccurate Tenant Screening Report to Lindsey
                           Terrace Apartments
      61.    Lindsey Terrace contracted with Defendant to conduct tenant screening

reports on prospective tenants to determine whether the prospective tenant is eligible

to rent an apartment.

      62.    On or about November 3 2023, Lindsey Terrace ordered a tenant

screening report on Plaintiff from Defendant.

      63.    On or about November 3, 2023, Defendant sold a tenant screening

report about Plaintiff to Lindsey Terrace, wherein Defendant published information

including a compilation of Plaintiff’s credit history, criminal history, and civil

records history.

      64.    The tenant screening report, identified as a Property Screening Result

by Defendant, is a consumer report regulated by the FCRA.

      65.    Within that tenant screening report, Defendant published inaccurate

information about Plaintiff.

      66.    Specifically, Defendant’s tenant screening report about Plaintiff

included a grossly inaccurate and stigmatizing duplications of Plaintiff’s past


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misdemeanor and felony charges from Duval County, Florida, including the same

inaccurate reporting as Defendant’s prior report to Gregory Cove.

      67.    A cursory review of the widely available underlying public court

records confirms correct number of charges and convictions for Plaintiff.

      68.    The sole reason the inaccurate duplication of criminal records was

reported was that Defendant failed to follow reasonable procedures to assure the

maximum possible accuracy of the information it published within the tenant

screening report it sold about Plaintiff to Plaintiff’s prospective landlord.

      69.    Had Defendant followed reasonable procedures, it would have

discovered that correct number of charges and convictions of Plaintiff criminal

history and that it should have reported the same.

      70.    In preparing and selling a consumer report about Plaintiff, wherein

Defendant published to Plaintiff’s prospective landlord inaccurate information about

Plaintiff, Defendant failed to follow reasonable procedures to assure that the report

was as accurate as maximally possible, in violation of 15 U.S.C. § 1681e(b).

            Lindsey Terrace Denies Plaintiff’s Housing Application
      71.    On or about November 3, 2023, Plaintiff was notified by Lindsey

Terrace that his housing application was denied as a direct result of information

included in the tenant screening report by Defendant.



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      72.      Lindsey Terrace only returned $100 of Plaintiff’s $185 reservation and

application fee.

      73.      Shortly thereafter, Plaintiff obtained a copy of the tenant screening

report and was shocked and humiliated upon reviewing the sheer number of

duplicated criminal records contained within the tenant screening report.

      74.      Plaintiff was very panicked, confused, humiliated, and concerned about

the impact of the inaccurate reporting, both in relation to the Gregory Cove and

Lindsey Terrace apartments, but also the impact of the same on his future.

      75.      Plaintiff was hoping to be able to live at Lindsey Terrace, and felt

humiliated that they believed his criminal history was much worse than it was.

      76.      However, Plaintiff was running out of time before he had to leave his

home and so had no choice but to immediately begin searching for new housing

despite Defendant’s inaccurate reporting.

      77.      Specifically, Defendant reported numerous duplications of Plaintiff’s

past criminal history. The underlying public court record information was widely

available to Defendant prior to publishing Plaintiff’s tenant screening report to

Lindsey Terrace, but Defendant failed to perform even a cursory review of such

information.




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      Plaintiff Applies for an Apartment with Pine Meadows Apartments
      78.    Desperate to secure housing for himself, Plaintiff immediately set out

to find more housing opportunities.

      79.    On or around November 3, 2023, Plaintiff found new housing

opportunity, and after an in-person visit, fell in love with the apartment as it was in

a good neighborhood, safe, affordable, quiet, peaceful, and had amenities in placed

for the elderly and disabled.

      80.    As Plaintiff is disabled himself, he desperately wanted to ensure he

would get the apartment, and hoped that they would use a different tenant screening

report then the one prepared by Defendant.

      81.    On or about November 8, 2023, Plaintiff applied online and paid a

reservation and application fee of $185 to Pine Meadows Apartments (“Pine

Meadows”).

     Defendant Published an Inaccurate Tenant Screening Report to Pine
                           Meadows Apartments
      82.    Pine Meadows contracted with Defendant to conduct tenant screening

reports on prospective tenants to determine whether the prospective tenant is eligible

to rent an apartment.

      83.    On or about November 8, 2023, Pine Meadows ordered a tenant

screening report on Plaintiff from Defendant.


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      84.    On or about November 8, 2023, Defendant sold a tenant screening

report about Plaintiff to Pine Meadows, wherein Defendant published information

including a compilation of Plaintiff’s credit history, criminal history, and civil

records history.

      85.    The tenant screening report, identified as a Property Screening Result

by Defendant, is a consumer report regulated by the FCRA.

      86.    Within that tenant screening report, Defendant published inaccurate

information about Plaintiff.

      87.    Specifically, Defendant’s tenant screening report about Plaintiff

included a grossly inaccurate and stigmatizing duplications of Plaintiff’s past

misdemeanor and felony charges from Duval County, Florida, including the same

inaccurate reporting as Defendant’s prior reports to Gregory Cove and Lindsey

Terrace.

      88.    A cursory review of the widely available underlying public court

records confirms correct number of charges and convictions for Plaintiff.

      89.    The sole reason the inaccurate duplication of criminal records was

reported was that Defendant failed to follow reasonable procedures to assure the

maximum possible accuracy of the information it published within the tenant

screening report it sold about Plaintiff to Plaintiff’s prospective landlord.


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      90.    Had Defendant followed reasonable procedures, it would have

discovered that correct number of charges and convictions of Plaintiff criminal

history and that it should have reported the same.

      91.    In preparing and selling a consumer report about Plaintiff, wherein

Defendant published to Plaintiff’s prospective landlord inaccurate information about

Plaintiff, Defendant failed to follow reasonable procedures to assure that the report

was as accurate as maximally possible, in violation of 15 U.S.C. § 1681e(b).

             Pine Meadows Denies Plaintiff’s Housing Application
      92.    On or about November 8, 2023, Plaintiff was notified by Pine Meadows

that his housing application was denied as a direct result of information included in

the tenant screening report by Defendant.

      93.    Shortly thereafter, Plaintiff obtained a copy of the tenant screening

report and was shocked and humiliated upon reviewing the sheer number of

duplicated criminal records contained within the tenant screening report.

      94.    Plaintiff, desperate to not lose out on another housing opportunity,

reached out to Pine Meadows on or around November 8, 2023, and explained to

them that the criminal records were very old and were being duplicated.

      95.    A representative of Pine Meadows explained to Plaintiff that they

would be glad to have him as a tenant if he could have the inaccurate reporting



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corrected, and explained that they would leave his application open for another 30

days.

        96.    The Pine Meadows representative also explained it may take up to two

to three weeks before Plaintiff is refunded $100 from his $185 reservation and

application fee.

        97.    Plaintiff has remained very panicked, confused, and concerned about

the impact of the inaccurate reporting, worrying that he may lose out on yet another

perfect housing opportunity and be left homeless due to Defendant’s inaccurate

reporting.

        98.    Specifically, Defendant reported numerous duplications of Plaintiff’s

past criminal history. The underlying public court record information was widely

available to Defendant prior to publishing Plaintiff’s tenant screening report to Pine

Meadows, but Defendant failed to perform even a cursory review of such

information.

        99.    Plaintiff continues to follow up with Pine Meadows Apartments in

hopes that the application for housing will be approved, however, until Defendant

corrects its inaccurate reporting about Plaintiff, he cannot move forward.




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       100. Plaintiff reasonably believes that due to Defendant’s inaccurate

reporting in the first instance, Pine Meadows Apartments formed a negative opinion

about Plaintiff.

       101. Defendant’s false report cost Plaintiff housing opportunities that met

his needs, including those of affordability, safety, peace, quiet, and amenities for his

disability.

       102. Plaintiff was looking forward to living at Pine Meadows Apartments

because it was in a safe neighborhood, provided amenities for his disability, was

peaceful and quiet, and was within his budget.

       103. Due to Defendant’s unreasonable procedures in the first place and

despite Plaintiff’s continued efforts to seek housing, Plaintiff fears he will can end

up homeless by the time December 1, 2023 comes around.

       104. The injuries suffered by Plaintiff as a direct result of Defendant’s

erroneous reporting are the type of injuries that the FCRA was enacted to address.

Under common law, Defendant’s conduct would have given rise to causes of action

based on defamation and invasion of privacy.

       105. As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of housing

opportunities; damage to his reputation; loss of sleep; lasting psychological damage;


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loss of capacity for enjoyment of life; and emotional distress, including mental

anguish, anxiety, fear, frustration, humiliation, and embarrassment.

                              CLAIMS FOR RELIEF
                                   COUNT I
                              15 U.S.C. § 1681e(b)
    Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                   Accuracy
      106. Plaintiff re-alleges and incorporates by reference the allegations set

forth in the preceding paragraphs as if fully stated herein.

      107. Defendant is a “consumer reporting agency” as defined by 15 U.S.C. §

1681a(f).

      108. At all times pertinent hereto, Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. § 1681a(c).

      109. At all times pertinent hereto, the above-mentioned tenant screening

report was a “consumer report” as that term is defined by 15 U.S.C. § 1681a(d).

      110. Defendant violated 15 U.S.C. § 1681e(b) by failing to establish or to

“follow reasonable procedures to assure maximum possible accuracy” in the

preparation of the tenant screening report it sold about Plaintiff as well as the

information it published within the same.

      111. As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of housing



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opportunities; loss of time and money trying to correct the tenant screening report;

the expenditure of labor and effort disputing and trying to correct the inaccurate

reporting; damage to his reputation; loss of sleep; lasting psychological damage; loss

of capacity for enjoyment of life; and emotional distress, including mental anguish,

anxiety, fear, frustration, humiliation, and embarrassment.

       112. Defendant willfully violated 15 U.S.C. § 1681e(b) in that its conduct,

actions, and inactions were willful, rendering them liable for actual or statutory

damages, and punitive damages in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n. Alternatively, they were negligent, entitling Plaintiff to

recover under 15 U.S.C. § 1681o.

       113. Plaintiff is entitled to recover statutory damages, punitive damages, and

reasonable attorneys’ fees and costs from Defendant in an amount to be determined

by the Court pursuant to 15 U.S.C. § 1681n and/or § 1681o.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

  i.   Determining that Defendant negligently and/or willfully violated the FCRA;

 ii.   Awarding Plaintiff actual, statutory, and punitive damages as provided by the

       FCRA;




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iii.   Awarding Plaintiff reasonable attorneys’ fees and costs as provided by the

       FCRA; and,

iv.    Granting further relief, in law or equity, as this Court may deem appropriate

       and just.

                          DEMAND FOR JURY TRIAL

       Plaintiff is entitled to and hereby demands a trial by jury on all issues so

triable.



RESPECTFULLY SUBMITTED this 26th day of December 2023


                                   CONSUMER ATTORNEYS
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